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                        IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


ROXANN WALKER                                   )
7000 Carson Avenue                              )
Apt. 5                                          )      CASE NUMBER:
Cleveland, OH 44104                             )
                                                )
       Plaintiff                                )
                                                )      JUDGE:
v.                                              )
                                                )
UNITED STATES OF AMERICA                        )      TYPE:      PERSONAL INJURY
Carol Skutnik                                   )                 OTHER TORT
United States Attorney for the Northern         )
District of Ohio                                )
Office of the United States Attorney            )      COMPLAINT
United States Courthouse                        )
801 West Superior Avenue                        )
Suite 400                                       )
Cleveland, OH 44113                             )
                                                )
       Defendant                                )



                                PARTIES AND JURISDICTION


       1.      Plaintiff is a resident of the City of Cleveland, County of Cuyahoga, and State of

Ohio, residing at 7000 Carson Avenue, Apt. 5, Cleveland, OH 44104.

       2.      At all times pertinent herein, Non-Party Danesha Allen was an employee, agent or

representative of the U.S. Postal Service acting on behalf of defendant.

       3.      This Court has jurisdiction over this case pursuant to 28 U.S.C. §1346(b). This

claim is being brought pursuant to the Federal Tort Claims Act, 28 U.S.C. §2671 et seq.

       4.      Plaintiff’s injuries as alleged in the complaint were a result of the negligence of
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Non-Party Danesha Allen, a U.S. Postal Service employee acting in the course and scope of her

employment with defendant.

        5.      On August 21, 2024, plaintiff’s tort claim was brought before the United States

Postal Service as required by 28 U.S.C. §2401(b) and 39 C.F.R. 912. No denial nor offer has

been extended by the United States Postal Service as of this date.

        6.      This action is being brought in compliance with the statute of limitations

contained in 28 U.S.C. §2401(b), 28 U.S.C. §2675 and 39 CFR 912.9(a).


                                   FIRST CAUSE OF ACTION


        7.      Plaintiff restates and realleges each and every preceding paragraph as if fully

rewritten herein.

        8.      On November 11, 2023, at the intersection of East 37th Street and Central Avenue,

in the City of Cleveland, County of Cuyahoga, and State of Ohio, Non-Party Danesha Allen

negligently operated a vehicle owned by defendant into the motor vehicle operated by plaintiff,

causing severe personal injury to plaintiff.

        9.      As a result of Non-Party Danesha Allen’s negligence, while in the course and

scope of her employment with defendant, plaintiff suffered injuries of the neck, back, head, legs

and other parts of her body, causing pain, permanent damage and loss of life’s enjoyment.

        10.     Plaintiff has incurred medical and hospital expenses as a result of her injuries and

expects to incur further such expenses.

        WHEREFORE, plaintiffs demand judgment against the United States of America for

compensatory damages in excess of Twenty-five Thousand Dollars ($25,000.00, and for any

other relief allowed by law and which this Court deems appropriate.
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                                      Respectfully submitted,

                                      FRIEDMAN, DOMIANO & SMITH CO.,
                                       L.P.A.

                                      /s/ Edmond G. Bennett (0103045)


                                      /s/ Marco G. Bocciarelli (0076617)

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                                      Attorneys for Plaintiff
